Case 2:20-cv-02063-JCM-VCF Document 1-1 Filed 11/09/20 Page 1 of 15

EXHIBIT “A”

EXHIBIT “A”
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Justin G. Randall, Esq.

Nevada Bar No. 12476

ER INJURY ATTORNEYS CASE NO: A-20-821047-C
4795 South Durango Drive Department 13

Las Vegas, Nevada 89147
Telephone: (702) 968-7500
Facsimile: (702) 989-0369
Attorneys for Plaintiff

DISTRICT COURT
CLARK COUNTY, NEVADA

SANDY ALECIA SINCLAIR-LEWIS,
individually; CASE NO.
DEPT. NO.
Plaintiffs,

VS,

SMITH’S FOOD & DRUG CENTERS, INC. an
Ohio Corporation; DOES I - X, and ROE
CORPORATIONS I - X, inclusive,

COMPLAINT

Defendants.

 

 

 

Plaintiff SANDY ALECIA SINCLAIR-LEWIS (“Plaintiff”) complains as follows:
GENERAL ALLEGATIONS

1. Plaintiff is, and at all times relevant herein, was, a resident of Clark County, Nevada.

2. The actions complained of herein occurred in Clark County, Nevada.

3, Defendant SMITH’S FOOD & DRUG CENTERS, INC., is, and at all times mentioned
herein, an Ohio corporation conducting business in Clark County, Nevada.

4, The true names and capacities of the Defendants designated herein as Doe or Roe
Corporations are presently unknown to Plaintiff at this time, who therefore sues said Defendants by such
fictitious names. When the true names and capacities of these defendants are ascertained, Plaintiffs will
amend this Complaint accordingly.

5. At all times pertinent herein, Defendants were agents, servants, employees or joint venturers
of every other Defendant, and at all times mentioned herein were acting within the scope and course of said
agency, employment, or joint venture, with knowledge and permission and consent of all other named

Defendants.

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Case 2:20-cv-02063-JCM-VCF Document 1-1 Filed 11/09/20 Page 3 of 15

6. On May 25, 2019, Plaintiff was an invitee of Defendants at Smith’s Food & Drug Centers,
Inc., located at 2385 E Windmill Ln., Las Vegas, Nevada 89123 (hereafter the “Property”).

7. Defendants maintained and were in control of the Property.

8. While visiting the Property, Plaintiff slipped and fell on a liquid substance on the floor
(hereafter the “dangerous condition”), causing Plaintiff to sustain serious injuries.

9. Defendants should have warned or otherwise made safe the dangerous condition because
that condition was non-obvious to Plaintiff.

10. Defendants negligently, carelessly, and recklessly maintained, constructed and allowed the
dangerous condition to exist.

11.  Asadirect and proximate result of the negligence of all Defendants, Plaintiff sustained
injuries to her back, bodily limbs, organs and systems, all or some of which conditions may be permanent
and disabling, and all to Plaintiff's damage in a sum in excess of $15,000.

12. Asadirect and proximate result of the negligence of all Defendants, Plaintiff received
medical and other treatment for the aforementioned injuries, and said services, care, and treatment are
continuing and shall continue in the future, all to the damage of Plaintiff.

13. Asadirect and proximate result of the negligence of all Defendants, Plaintiff has been
required to, and has limited occupational and recreational activities, which has caused and shall continue to
cause Plaintiff loss of earning capacity, lost wages, physical impairment, mental anguish, and loss of
enjoyment of life, in a presently unascertainable amount.

14. Asa direct and proximate result of the aforementioned negligence of all Defendants,
Plaintiff has been required to engage the services of an attorney, incurring attorney’s fees and costs to bring
this action.

FIRST CAUSE OF ACTION

15. Plaintiff incorporates paragraphs 1 through 14 of the Complaint as if those paragraphs were

fully incorporated herein.

16. Defendants owed Plaintiff a duty of care to warn Plaintiff of the non-obvious and dangerous

condition.

17. Defendants breached this duty of care by failing to warn Plaintiff of the dangerous, non-

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Case 2:20-cv-02063-JCM-VCF Document 1-1 Filed 11/09/20 Page 4 of 15

obvious condition.

18. Defendants’ negligence directly and proximately caused Plaintiff serious injury.

19. As a direct and proximate result of Defendants’ negligence, Plaintiff received medical and
other treatments for injuries sustained to her bodily limbs, organs and nervous systems, all or some of
which conditions may be permanent and disabling and, all to Plaintiff's damage in a sum in excess of
$15,000.00. Said services, care, and treatment are continuing and shall continue in the future. |

20. As a direct and proximate result of Defendants’ negligence, Plaintiff has been required to
and has limited certain recreational activities, which have caused, and shall continue to cause loss of
enjoyment of life.

21. Plaintiff has been required to engage the services of an attorney, incurring attorney’s fees
and costs to bring this action.

WHEREFORE, Plaintiff expressly reserves the right to amend this complaint prior to or at the time
of trial of this action, to insert those items of damage not yet fully ascertainable, prays judgment against all

Defendants, and each of them, as follows:

 

1. For general damages in an amount in excess of $15,000.00;
2. For special damages in an amount in excess of $15,000.00;
3. For reasonable attorney’s fees and costs;
4, For property damage sustained by Plaintiff;
5. For interest at the statutory rate; and
5. For such other relief as the Court deems just and proper.
ER INJURY ATTORNEYS
By:

 

Justin G. Randall, Esq.
Nevada Bar No. 12476
4795 South Durango Drive
Las Vegas, Nevada 89147
Attomeys for Plaintiff

 
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ER INJURY ATTORNEYS lg j ft. veep
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LAS VEGAS, NV 89147

(702) 877-1500

 

 

DISTRICT COURT
CLARK COUNTY, NEVADA
SANDY ALECIA SINCLAIR-LEWIS Case Number. A-20-821047-C
Plant?
os Depot
SMITH'S FOOD & DRUG CENTERS, INC. PROOF OF SERVICE
Defendant

 

 

TONYA MALONE, deposes and says: that at all times hersin lam e citizen of the United States, over
18 years of age and not a party to nor interested in the proceeding | in which this statement is made.

Affiant received a copy af the:
SUMMONS; COMPLAINT

i served the same on 09/17/2020 at 2:47 PM to:

Defendant SMITH’S FOOD & DRUG CENTERS, ING. AN OHIO CORPORATION, BY SERVING
CORPORATION SERVICE COMPANY, REGISTERED AGENT

by leaving the copies with or in the presence of KRIS OSBORN, CORPORATE SPECIALIST, at 112 N
CURRY ST. CARSON CITY, NV 89703, pursuant to NRS 14.020.

Pursuant to NRS 53.048, | declare unde r penalty
of perit jury under the law of the State of Nevada that
the forgoing is fue and correct.

 

Executed: Friday, September 18, 2020
@, NV PILB LIC #1876

 

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JERRY S. BUSBY Minh "bb suse ,

Nevada Bar #001107

GREGORY A. KRAEMER
Nevada Bar #010911

COOPER LEVENSON, P.A.

3016 West Charleston Boulevard - #195
Las Vegas, Nevada 89102

(702) 366-1125

FAX: (702) 366-1857
jbusby@cooperlevenson.com
gkraemer@cooperlevenson.com
Attorneys for Defendant

SMITH’S FOOD & DRUG CENTERS, INC.

DISTRICT COURT
CLARK COUNTY, NEVADA

SANDY ALECIA SINCLAIR-LEWIS, CASE NO.: A-20-821047-C
individually; DEPT. NO.: XUI
Plaintiffs,
vs.

SMITH’S FOOD & DRUG CENTERS, INC. DEFENDANT SMITH’S FOOD & DRUG
an Ohio Corporation; DOES I - X, and ROE CENTERS, INC.’S ANSWER TO
CORPORATIONS I - X, inclusive, PLAINTIFF’S COMPLAINT

Defendants.

 

 

COMES NOW, Defendant, SMITH’S FOOD & DRUG CENTERS, INC., by and through its
attorney of record, JERRY S. BUSBY, ESQ., of the law firm COOPER LEVENSON, P.A., and hereby
answers Plaintiff's Complaint on file herein as follows:

I.

This answering Defendant states that it does not have sufficient knowledge or information upon
which to base a belief as to the truth of the allegations contained in Paragraphs 1, 2, 4, 5, 6 and 8 of
Plaintiff's Complaint and upon said ground, denies each and every allegation contained therein.

II.
This answering Defendant admits the allegations contained in Paragraph 3 of Plaintiff’ s

Complaint.

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Case 2:20-cv-02063-JCM-VCF Document 1-1 Filed 11/09/20 Page 7 of 15

WH.

In response to Paragraph 7 of Plaintiffs Complaint, this answering Defendant admits that it
maintained and controlled the SMITH’S store located at 2385 East Windmill Lane, Las Vegas,
Nevada. This answering Defendant denies any remaining allegations contained in said Paragraph.

IV.

Paragraph 9 of Plaintiff's Complaint states a legal conclusion which is the sole province of the

Court to determine. This answering Defendant therefore denies said Paragraph.
V.

This answering Defendant denies each and every allegation contained in Paragraphs 10, 11,
12, 13 and 14 of Plaintiff's Complaint.

VI.

This answering Defendant, in response to Paragraph 15 of that portion of Plaintiff's
Complaint entitled “FIRST CAUSE OF ACTION”, incorporates herein by reference each and
every answer previously alleged to the Paragraphs which the Plaintiff has realleged by incorporation.

Vil.

Paragraph 16 of that portion of Plaintiff's Complaint entitled “FIRST CAUSE OF ACTION”
states a legal conclusion which is the sole province of the Court to determine. This answering Defendant
therefore denies said Paragraph.

VIE.

This answering Defendant denies each and every allegation contained in Paragraphs 17, 18,

19, 20 and 21 of that portion of Plaintiff's Complaint entitled “FIRST CAUSE OF ACTION”.
AFFIRMATIVE DEFENSES
FIRST AFFIRMATIVE DEFENSE

Plaintiff did not use reasonable diligence to care for her injuries, thereby aggravating said injuries
as aresult. Therefore, Plaintiff's claims against this answering Defendant should be denied, or any
recovery reduced in proportion to said negligence of Plaintiff.

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Case 2:20-cv-02063-JCM-VCF Document 1-1 Filed 11/09/20 Page 8 of 15

SECOND AFFIRMATIVE DEFENSE

At the time and place alleged in Plaintiffs Complaint, and for a period of time prior thereto,
Plaintiff did not exercise ordinary care, caution, or prudence for the protection of her own safety, and
injuries and damages complained of by Plaintiff in the Complaint, if any, were directly and proximately
caused or contributed to by the fault, failure to act, carelessness, and negligence of Plaintiff, and
therefore Plaintiffs claims against this answering Defendant should be denied, or any recovery reduced
in proportion to said negligence of Plaintiff.

WHEREFORE, this answering Defendant prays that Plaintiff take nothing by virtue of her
Complaint on file herein; for costs and disbursements incurred in this action; and for such other and
further relief as to the Court may deem proper.

Dated this 7th day of October, 2020.

COOPER LEVENSON, P.A.

By /s/Jerry S. Busby
Jerry S. Busby
Nevada Bar #001107
Gregory A. Kraemer
Nevada Bar #010911
3016 West Charleston Boulevard - #195
Las Vegas, Nevada 89102
Attorneys for Defendant
SMITH’S FOOD & DRUG CENTERS, INC.

CLAC 5954190.1

 
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Case 2:20-cv-02063-JCM-VCF Document 1-1 Filed 11/09/20 Page 9 of 15

CERTIFICATE OF SERVICE

Pursuant to NRCP 5(b), I certify that I am an employee of COOPER LEVENSON, P.A. and
that on this 7th day of October, 2020, I did cause a true copy of the foregoing DEFENDANT
SMITH’S FOOD & DRUG CENTERS, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
to be served upon each of the parties listed below via electronic service through the Eighth Judicial
District Court’s Odyssey E-File and Serve System:

Justin G. Randall, Esq.

ER INJURY ATTORNEYS

4795 South Durango Drive

Las Vegas, NV 89147

Attorneys for Plaintiff

By /s/ Theresa H. Rutkowski
An Employee of
COOPER LEVENSON, P.A.

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ABREA
Justin G. Randall, Esq.
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ER INJURY ATTORNEYS
4795 South Durango Drive
Las Vegas, Nevada 89147
Telephone: (702) 968-7500
Facsimile: (702) 989-0369
Email: justin@erinjuryattorneys.com
Attomeys for Plaintiffs
DISTRICT COURT

CLARK COUNTY, NEVADA

SANDY ALECIA SINCLAIR-LEWIS,
individually; CASE NO.: A-20-821047-C

DEPT NO.: 13

Plaintiffs,
VS.

SMITH’S FOOD & DRUG CENTERS, INC. an

Ohio Corporation; DOES I - X, and ROE
CORPORATIONS I - X, inclusive,

Defendants.

 

 

 

PETITION FOR EXEMPTION FROM ARBITRATION

COMES NOW Plaintiff, SANDY ALECIA SINCLAIR-LEWIS, by and through her attorneys
of record, JUSTIN G. RANDALL, ESQ., of ER INJURY ATTORNEYS, and hereby requests the
above entitled matter be exempted from arbitration pursuant to Nevada Arbitration Rule 3 and 5, as
this case:

1.____ presents a significant issue of public policy;

2. _XX_ involves an amount in issue in excess of $50,000, exclusive of interest and costs;

3.____ presents unusual circumstances which constitute good cause for removal from the

program.

This is an action for personal injuries resulting from a slip and fall incident that occurred on
May 25, 2019 in Clark County Nevada. On this date, Plaintiff was an invitee of Defendant SMITH’S
FOOD & DRUG CENTERS, INC. While visiting the property, Plaintiff slipped on a liquid substance,
causing Plaintiff serious injuries.

To date, Plaintiff SANDY ALECIA SINCLAIR-LEWIS has incurred the following medical

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Case Number: A-20-821047-C

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Case 2:20-cv-02063-JCM-VCF Document 1-1 Filed 11/09/20 Page 11 of 15

expenses as a result of the subject incident:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. | Community Ambulance $1,109.45
2. | St. Rose Dominican Hospital- Siena $4,913.00
3. | Vituity Partners $817.00
4. | Radiology Associates of Nevada $37.00
5. | Desert Orthopedic Center $378.58
6. | Khavkin Clinic $125,932.00
7. | Rapid Rehab and Wellness Center $5,229.00
8. | Desert Cardiovascular Consultant $4,051.01
9. | Palm Medical Group $621.39
10. | Henderson Hospital $376,752.00

   

 

 

Plaintiff has already had two (2) spine procedures due to the pain caused by this lip and fall.
On August 26, 2019, Dr. Yevgeniy Khavkin performed a decompression and fusion of the C5-C7
levels of Plaintiff's cervical spine. Then on September 23, 2019, Dr. Khanvkin performed a
transforaminal lumber fusion of the L5-S1 levels of Plaintiff's spine. Plaintiff is still gathering her

records and bills for her aftercare from these surgeries.

As is evidenced by the injuries diagnosed by Plaintiff's healthcare providers, together with
the significant medical expenses incurred by Plaintiff and the future cost of treatment, Plaintiff's
case has a probable jury award value in excess of $50,000. Accordingly, and pursuant to N.A.R. 3,
this matter is appropriately exempted from the Court Annexed Arbitration Program. Further, this

request for exemption has been timely filed pursuant to the requirements set forth in N.A.R. 5.
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Based upon the foregoing, I hereby certify pursuant to N.R.C.P. 11 this case to be within the
exemption marked above, and I am aware of the sanctions which may be imposed against any
attorney or party who without good cause or justification attempts to remove a case from the

arbitration program.

ER INJURY ATTORNEYS

Zool!

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Justin G. Randall, Esq.
Nevada Bar No. 12476
4795 South Durango Drive
Las Vegas, Nevada 89147
Attomeys for Plaintiff

 
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Case 2:20-cv-02063-JCM-VCF Document 1-1 Filed 11/09/20 Page 13 of 15

CERTIFICATE OF SERVICE
Pursuant to N.R.C.P. 5(a), E.D.C.R. 7.26(a) and N.E.F.C.R. 9, I hereby certify that I am an
employee of ER INJURY ATTORNEYS, and on the 9" day of October, 2020 the foregoing
PETITION FOR EXEMPTION FROM ARBITRATION was served by electronic via the Eighth

Judicial Court’s Odyssey E-File and Serve system, to the following counsel of record:

Jerry S. Busby, Esq.

Gregory A. Kraemer, Esq.

COOPER LEVENSON, P.A.

3016 West Charleston Boulevard - #195
Las Vegas, Nevada 89102

Attorney for Defendant

/s/ Amber Geiman
An Employee of ER INJURY ATTORNEYS

 
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DISTRICT COURT

  

CLARK COUNTY, NEVADA

Sandy Sinclair-Lewis, Plaintiff(s)

VS. CASE NO: A-20-821047-C
6 DEPT. NO: XIII
Smith's Food & Drug Centers, Inc,

Defendant(s)

 

COMMISSIONER’S DECISION ON REQUEST FOR EXEMPTION
10

11 || REQUEST FOR EXEMPTION FILED ON: October 09, 2020

12 || EXEMPTION FILED BY: __ Plaintiff OPPOSITION: ___No
13
14
15 DECISION
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Having reviewed the Request for Exemption, and all related pleadings, the Request
8 for Exemption is hereby GRANTED.
19
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21 DATED this 278 of October, 2020.
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25 ADR COMMISSIONER

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ADR
COMMISSIONER
EIGHTH JUDICIAL
DISTRICT COURT

Case Number: A-20-821047-C

 

 

 
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NOTICE

Pursuant to Nevada Arbitration Rule 5(D), you are hereby notified you have five (5) days
from the date you are served with this document within which to file written objections
with the Clerk of Court and serve all parties. The Commissioner’s Decision is deemed
served three (3) days after the Commissioner’s designee deposits a copy of the Decision in
the U.S. Mail. Pursuant to NEFCR Rule 9(f)(2) an additional 3 days is not added to the
time if served electronically (via e-service).

A copy of the foregoing Commissioner’s Decision on Request for Exemption was
electronically served, pursuant to N.E.F.C.R. Rule 9, to all registered parties in the
Eighth Judicial District Court Electronic Filing Program on the date of e-filing.

If indicated below, a copy of the foregoing Commissioner’s Decision on Request for
Exemption was also:

C1] Placed in the folder of counsel maintained in the Office of the Clerk of Court on
, 2020.

L] Mailed by United States Postal Service, Postage prepaid, to the proper parties listed
below at their last known address(es) on , 2020.

/s/ Lisa Kaba
ADR COMMISSIONER’S DESIGNEE

 

 
